 Fill in this information to identify the case:

 Debtor name         GPMI, Co.

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:22-bk-00150-EPB
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 10, 2022                        X /s/ Yarron Bendor
                                                                       Signature of individual signing on behalf of debtor

                                                                       Yarron Bendor
                                                                       Printed name

                                                                       President/CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name GPMI, Co.
 United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                                          Check if this is an

 Case number (if known):                2:22-bk-00150-EPB                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Eastern Shipping    Andrew D.                                   Trade debt and      Disputed                                                                         $1,656,495.00
 Worldwide           Kehagiaras                                  potential recovery
 185 Hansen Court                                                in lawsuit filed in
 Wood Dale, IL 60191 adk@tradeandcarg                            California
                     o.com
                     310.642.9800
 Fibertex Nonwovens Alan Zenner                                  Trade debt                                                                                           $1,515,848.00
 Inc.
 100 Iso Pkwy        alze@fibertex.com
 Gray Court, SC      815.349.3219
 29645
 Scandia Plastics ,  Gary W. Lipkin                              Trade debt and         Disputed                                                                        $935,165.00
 LLC                                                             potential recover
 220 Laurel Road,    glipkin@eckertsea                           in lawsuit brough
 No. 201             mans.com                                    in State of
 Attn CFO            617.342.6800                                Delaware
 Voorhees, NJ 08043
 Jack Gantz                                                      All Accounts                                    $1,400,000.00             $1,536,556.00                $832,618.00
 Irrevocable Trust                                               Receivable arising
 No. 2                                                           from sale of
 463 Woodlands                                                   finished goods,
 Road                                                            work in process
 Harrison, NY 10528                                              and raw materials
 Web-Pro Corp.                                                   Trade debt                                                                                             $737,019.00
 No. 4 Uim-Kon 3rd
 Road Yun-An Ste     Fax: +84
 E-261               02513683100
 Kaohsing Taiwan
 82841
 West Bent           Tom Nelson                                  Trade debt                                                                                             $504,488.00
 Packaging dba
 Comar               nelsont@comar.co
 P.O. Box 937        m
 West Bend, WI       610.585.3957
 53095




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    GPMI, Co.                                                                                          Case number (if known)         2:22-bk-00150-EPB
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Schoeneck                       Lissa Ewing                     Trade debt                                                                                             $430,113.00
 Containers Inc.
 2160 S. 170th St.               lewing@schoeneck
 New Berlin, WI                  .com
 53151                           262.796.8300
 BOK Financial                   Brian Barry      PPP Loan                              Contingent                                                                      $212,691.49
 16767 N. Perimeter
 Dr., No. 200                    bbarry@bokf.com
 Scottsdale, AZ                  623.521.0907
 85260
 CH Robinson                     Eric Saxton                     Trade debt                                                                                             $199,093.00
 Worldwide Inc.
 P.O. Box 88656                  eric.saxton@chrobi
 Chicago, IL                     nson.com
 60680-1656                      847.804.1833
 Kleen Test Products             Don Bauer          Trade debt                                                                                                          $195,884.00
 Corp.
 1611 Sunset Road,               dbauer@kleentest.
 No. 209                         com
 Port Washington, WI             262.268.4737
 53074
 Ameritemps AZ LLC               Kathy Watzke                    Trade debt                                                                                             $187,364.00
 6100 Rockside
 Woods Blvd.                     kathyameritemps@
 Suite 250                       hotmail.com
 Independence, OH                623.691.9222
 44131-2341
 Hangzhou Bonyee                                                 Trade debt                                                                                             $173,619.00
 Daily Necessity                 jiangym@nbond.cn
 Tech Co                         +86 571.8917.6811
 No. 16 Hongda Rd.,
 Yuhang Economic
 Devel
 Province 311102
 Hangzhou City
 Zhjiang China
 Total Quality                   Cheri Calvert                   Trade debt                                                                                             $172,206.00
 Logistics LLC
 4289 Ivy Pointe                 ccalvert@tql.com
 Blvd.                           800.580.3101 Ext
 Cincinnati, OH                  56876
 45245
 Bjerk Builders Inc.             Scott Bjerk                     Unpaid                                                                                                 $164,137.00
 1383 N. Tech Blvd.,                                             construction fees
 No. 101                         scott@bjerkbuilder
 Gilbert, AZ 85233               s.com
                                 602.291.9255
 Stepan Company                  Wayne Molley       Trade debt                                                                                                          $149,802.00
 22 W. Frontage
 Road                            wmolley@stepan.c
 Winnetka, IL 60093              om
                                 847.501.2203


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    GPMI, Co.                                                                                          Case number (if known)         2:22-bk-00150-EPB
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Fort Dearborn Co.               Nicholas Martisek               Trade debt                                                                                             $132,196.00
 P.O. Box 74008096
 Chicago, IL                     nmartisek@fortdea
 60674-8096                      rborn.com
                                 847.427.5209
 Arizona Corrugated              David             Trade debt                                                                                                           $109,381.00
 Container                       Lewandowski
 225 S. Dobson
 Avenue                          davidl@tucsoncont
 Mesa, AZ 85202                  ainer.com
                                 520.746.3171
 Changxing Kingke                                                Trade debt                                                                                             $106,106.00
 Import & Export Ltd
 New Century                     Fax:
 Industrial Park                 +86.572.623099
 Lijiaxiang Town,
 Changxing Cnty
 Huzhou, Zhejiang
 China
 Rebel Converting                Michael Kryshak                 Trade debt                                                                                             $100,642.00
 700 N. Progress
 Drive                mike@rebelconvert
 Saukville, WI 53080  ing.com
                      262.235.4224 Ext 11
 Interstate Packaging Jim Combe           Trade debt                                                                                                                      $97,594.00
 Group Inc.
 8828 S. Hardy Dr.,   jcombe@intpkg.co
 Ste. 105             m
 Tempe, AZ 85284      602.999.3522




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

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 United States Bankruptcy Court for the:                       DISTRICT OF ARIZONA

 Case number (if known)               2:22-bk-00150-EPB
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        2,007,827.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       13,604,976.86

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       15,612,803.86


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        7,728,645.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            58,206.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        9,699,437.06


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         17,486,288.06




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         GPMI, Co.

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:22-bk-00150-EPB
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     JPMorganChase Bank                                      Checking (operating)            7751                                    $82,132.89




           3.2.     JPMorganChase Bank                                      Money Market                    7937                                    $12,856.25



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $94,989.14
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposit with Landlord                                                                                                  $45,000.00



                    Security deposits paid to NFS Leasing, Inc. under Schedules 1 - 7 to Master Equipment
           7.2.     Lease                                                                                                                         $473,621.62
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                  Name




           7.3.     Deposit with Salt River Project for utility services                                                                     $34,620.00




           7.4.     Deposit with a2b Fulfillment - shipping deposit                                                                            $1,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Insurance prepayments                                                                                                      $3,363.10




 9.        Total of Part 2.                                                                                                             $557,604.72
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         1,536,556.00    -                                   0.00 = ....              $1,536,556.00
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                           $1,536,556.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of         Valuation method used   Current value of
                                                      physical inventory         debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Raw materials - subject
           to blanket liens held by
           GC Capital and IOU
           Central Inc., see
           Schedule D, 2.3 and 2.7                                                    $1,334,425.00        Book                           $1,334,425.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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                Name




 20.       Work in progress
           Work in progress -
           subject to blanket liens
           held by GC Capital and
           IOU Central Inc., see
           Schedule D, 2.3 and 2.7.                                                  $163,436.00     Book                             $163,436.00



 21.       Finished goods, including goods held for resale
           Finished goods on
           premises - subject to
           blanket liens held by GC
           Capital and IOU Central
           Inc., see Schedule D, 2.3
           and 2.7.                                                                  $426,170.00     Book                             $426,170.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                     $1,924,031.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                83,364.00 Valuation method        Book               Current Value                  83,364.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office furniture and fixtures                                             $131,281.00     Book                             $131,281.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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           Office equipment - subject to blanket liens
           held by GC Capital and IOU Central Inc., see
           Schedule D, 2.3 and 2.7.                                                  $220,091.00     Book                             $220,091.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                          $351,372.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Nissan Sentra (test vehicle)                                       $1,863.00    Book                                $1,863.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Leasehold interest in Ingersol Rand
           Compressors Model R55NTAS under Lease
           #20-189-01                                                                $101,776.00     Book                             $101,776.00


           Leasehold interest in Arpac TS37 Vertical Seal
           Shrink Wrap S/N 18120 and VT18-EXT Shrink
           tunnel S/N 18123                                                          $185,205.00     Book                             $186,205.00


           Leasehold interest in all equipment (forklifts)
           under Leases with HYG Financial Services,
           Inc.                                                                      $163,428.00     Book                             $163,428.00


           Machinery and equipment - subject to blanket
           liens held by GC Capital and IOU Central Inc.,
           see Schedule D, 2.3 and 2.7.                                            $1,571,496.00     Book                           $1,571,496.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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                Name



            All equipment, peripherals and inventory
            under Master Lease Agreement 2020-0244 with
            NFS Leasing, Inc., including Schedules 1
            through 7 (except certain equipment under
            Schedule 7 that was never delivered; claim
            amount includes credit for this equipment.)                            $3,348,194.00       Book                            $3,348,194.00


            Leasehold interest in Warehouse Racking
            leased from International Financial Services
            Corp.                                                                    $121,600.00       Book                              $121,600.00




 51.        Total of Part 8.                                                                                                       $5,494,562.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 190 South McQueen
                     Road
                     Gilbert, Arizona                     Leasehold - TIs          $2,007,827.00       Book                            $2,007,827.00




 56.        Total of Part 9.                                                                                                        $2,007,827.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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                Name

59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Joint interst in patent for dispenser units                                Unknown       N/A                                 Unknown


            Tradename and trademark "GermaClean"                                       Unknown       N/A                                 Unknown


            Tradename and trademark "Four Peaks Auto
            Care"                                                                      Unknown       N/A                                 Unknown



 61.        Internet domain names and websites
            gpmicompany.com                                                            Unknown       N/A                                 Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer lists (proprietary to Debtor and no
            value to third parties)                                                         $0.00    N/A                                       $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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 Debtor         GPMI, Co.                                                                    Case number (If known) 2:22-bk-00150-EPB
                Name

 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Net operating loss carryover                                                        Tax year 2019                      $3,645,862.00



 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Potential recovery under lawsuit entitled GPMI, Co,
           Plaintiff v. Michelin Lifestyle Ltd., and Michelin North
           America, Inc., Case No. 2:21-cv-00299-GMS, U.S. District
           Court, District of Arizona                                                                                                   Unknown
           Nature of claim            Breach of contract and tortuous
                                      interference
           Amount requested                                $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Unliquidated claims against Albaad USA, Inc. under
           breach of Contract Manufacturing Agreement                                                                                   Unknown
           Nature of claim        Breach of contract; other claims
                                  not yet determined
           Amount requested                            $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                    $3,645,862.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 7
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 Debtor          GPMI, Co.                                                                                           Case number (If known) 2:22-bk-00150-EPB
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $94,989.14

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $557,604.72

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,536,556.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,924,031.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $351,372.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $5,494,562.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $2,007,827.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $3,645,862.00

 91. Total. Add lines 80 through 90 for each column                                                       $13,604,976.86             + 91b.            $2,007,827.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $15,612,803.86




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
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 Fill in this information to identify the case:

 Debtor name         GPMI, Co.

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)             2:22-bk-00150-EPB
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Factors Southwest, L.L.C.                      Describe debtor's property that is subject to a lien                 $969,174.00             $1,536,556.00
       Creditor's Name                                All accounts receivable under Factoring and
                                                      Security Agreement dated 6/27/18, as
       4530 E. Shea Blvd., Ste. 142                   amended
       Phoenix, AZ 85028
       Creditor's mailing address                     Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Factors Southwest,
       L.L.C.
       2. Jack Gantz Irrevocable
       Trust No. 2
       3. IOU Central Inc.

       HYG Financial Services,
 2.2                                                                                                                       $129,069.00               $163,428.00
       Inc.                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                Leasehold interest in all equipment (forklifts)
                                                      under Leases with HYG Financial Services,
       P.O. Box 35701                                 Inc.
       Billings, MT 59107
       Creditor's mailing address                     Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       5/19/21                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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 Debtor       GPMI, Co.                                                                               Case number (if known)      2:22-bk-00150-EPB
              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       International Financial
 2.3                                                                                                                            $99,042.00     $101,776.00
       Services Corp.                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                Leasehold interest in Ingersol Rand
       1113 S. Milwaukee Avenue                       Compressors Model R55NTAS under Lease
       Suite 301                                      #20-189-01
       Libertyville, IL 60048
       Creditor's mailing address                     Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       01/15/21                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       International Financial
 2.4                                                                                                                           $201,798.00     $186,205.00
       Services Corp.                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                Leasehold interest in Arpac TS37 Vertical
       1113 S. Milwaukee Avenue                       Seal Shrink Wrap S/N 18120 and VT18-EXT
       Suite 301                                      Shrink tunnel S/N 18123
       Libertyville, IL 60048
       Creditor's mailing address                     Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/15/21                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       International Financial
 2.5                                                                                                                           $119,462.00     $121,600.00
       Services Corp.                                 Describe debtor's property that is subject to a lien




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 4
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 Debtor       GPMI, Co.                                                                               Case number (if known)      2:22-bk-00150-EPB
              Name

       Creditor's Name                                Leasehold interest in Warehouse Racking
       1113 S. Milwaukee Avenue                       leased from International Financial Services
       Suite 301                                      Corp.
       Libertyville, IL 60048
       Creditor's mailing address                     Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2021                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   IOU Central Inc.                               Describe debtor's property that is subject to a lien                     $508,100.00    $1,536,556.00
       Creditor's Name                                Accounts Receivable and all other assets
       600 TownPark Lane
       Suite 100
       Kennesaw, GA 30144
       Creditor's mailing address                     Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2021                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

       Jack Gantz Irrevocable
 2.7                                                  Describe debtor's property that is subject to a lien                 $1,400,000.00      $1,536,556.00
       Trust No. 2
       Creditor's Name                                All Accounts Receivable arising from sale of
                                                      finished goods, work in process and raw
       463 Woodlands Road                             materials
       Harrison, NY 10528
       Creditor's mailing address                     Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2021                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 4
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 Debtor       GPMI, Co.                                                                               Case number (if known)       2:22-bk-00150-EPB
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

 2.8    NFS Leasing, Inc.                             Describe debtor's property that is subject to a lien                   $4,302,000.00       $3,348,194.00
        Creditor's Name                               All equipment, peripherals and inventory
                                                      under Master Lease Agreement 2020-0244
                                                      with NFS Leasing, Inc., including Schedules 1
                                                      through 7 (except certain equipment under
        900 Cummings Center                           Schedule 7 that was never delivered; claim
        Suite 226-U                                   amount includes credit for th
        Beverly, MA 01915
        Creditor's mailing address                    Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        7-16-2020                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        0244
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




                                                                                                                               $7,728,645.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         HYG Financial Services Inc.
         5000 Riverside Drive                                                                                   Line   2.2
         Suite 300 East
         Irving, TX 75039-4314




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         GPMI, Co.

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)           2:22-bk-00150-EPB
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Arizona Department of Revenue                             Check all that apply.
           Attention: Bankruptcy Section                                Contingent
           1600 West Monroe                                             Unliquidated
           Phoenix, AZ 85007                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     FOR INFORMATIONAL PURPOSES ONLY
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $21,808.00          $21,808.00
           Internal Revenue Service Center                           Check all that apply.
           Department of Treasury                                       Contingent
           Ogden, UT 84201-0012                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 19
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 Debtor       GPMI, Co.                                                                                       Case number (if known)          2:22-bk-00150-EPB
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $36,398.00    $13,650.00
           Leslie Bendor                                             Check all that apply.
           190 S. McQueen Road                                          Contingent
           Suite 102                                                    Unliquidated
           Gilbert, AZ 85233                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Unpaid wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $12,058.37
           48 Forty Solutions                                                          Contingent
           13100 Northwest Fwy, #450                                                   Unliquidated
           Houston, TX 77040                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $859.73
           4imprint Inc.                                                               Contingent
           25303 Network Pl.                                                           Unliquidated
           Chicago, IL 60673                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $27.30
           7 Eleven Inc.                                                               Contingent
           3200 Hackberry Road                                                         Unliquidated
           Irving, TX 75063                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $11,440.00
           AB Specialty Silocone                                                       Contingent
           3725 Hawthorn Court                                                         Unliquidated
           Waukegan, IL 60087                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $12,310.00
           ACB Import Svc Inc. dba AZ Customs Broke                                    Contingent
           P.O. Box 20082                                                              Unliquidated
           Phoenix, AZ 85036                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 19
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 Debtor       GPMI, Co.                                                                               Case number (if known)            2:22-bk-00150-EPB
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Account Temps dba Robert Half                                         Contingent
          P.O. Box 743295                                                       Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,852.00
          Action Sales & Marketing Inc.                                         Contingent
          2863 Hedberg Dr.                                                      Unliquidated
          Hopkins, MN 55305                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,640.00
          Advitam IP LLC                                                        Contingent
          150 S. Wacker Dr., No. 2400                                           Unliquidated
          Chicago, IL 60606                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,600.00
          Allen Young                                                           Contingent
          90 Ferry St.                                                          Unliquidated
          Marshfield, MA 02050                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,999.00
          American Analytical Labs Inc.                                         Contingent
          840 S. Main St.                                                       Unliquidated
          Akron, OH 44311                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $74,146.00
          American Express                                                      Contingent
          P.O. Box 360002                                                       Unliquidated
          Fort Lauderdale, FL 33336-0002                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $187,364.00
          Ameritemps AZ LLC                                                     Contingent
          6100 Rockside Woods Blvd.                                             Unliquidated
          Suite 250                                                             Disputed
          Independence, OH 44131-2341
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 19
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 Debtor       GPMI, Co.                                                                               Case number (if known)            2:22-bk-00150-EPB
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,920.00
          Arizona Commerce Authority                                            Contingent
          100 N. 7th Avenue                                                     Unliquidated
          Suite 400                                                             Disputed
          Phoenix, AZ 85007
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $109,381.00
          Arizona Corrugated Container                                          Contingent
          225 S. Dobson Avenue                                                  Unliquidated
          Mesa, AZ 85202                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,273.00
          Arizona Glove & Safety Inc.                                           Contingent
          3010 S. 52nd St.                                                      Unliquidated
          Tempe, AZ 85282                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,920.00
          Arizona Manufacturing Extension                                       Contingent
          100 N. 7th Avenue                                                     Unliquidated
          Suite 400                                                             Disputed
          Phoenix, AZ 85007
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,396.00
          Arizona Pallet                                                        Contingent
          646 S. 27th Avenue                                                    Unliquidated
          Phoenix, AZ 85009                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,129.00
          Arnold Machinery Company                                              Contingent
          3000 S. 44th Street                                                   Unliquidated
          Phoenix, AZ 85040                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,092.00
          Asialinx Paper Ltd. dba Softech                                       Contingent
          2591 Hunan Hwy                                                        Unliquidated
          Bldg 1, Rm 602                                                        Disputed
          Shanghai China
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $150.00
          Assured Audit Pest Prevention LLC                                     Contingent
          15322 W. Alexandria Way                                               Unliquidated
          Surprise, AZ 85379                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,500.00
          Awold SMT Corp dba Smach my Trash                                     Contingent
          430 E. Warner Rd                                                      Unliquidated
          Unit 1-1                                                              Disputed
          Chandler, AZ 85225
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,451.00
          Bardahl Lubricantes Agrentina                                         Contingent
          Pedro Ignacio Rivera 3454                                             Unliquidated
          Buenos Aires Argentina                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,194.00
          Belmark Inc.                                                          Contingent
          600 Heritage Road                                                     Unliquidated
          De Pere, WI 54115-5310                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $472.00
          Bestfit Corporation                                                   Contingent
          C4-279                                                                Unliquidated
          6929 N. Hayden Road                                                   Disputed
          Scottsdale, AZ 85250
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,251.00
          Big Lift Material Handling                                            Contingent
          1315 E. Gibson Lane                                                   Unliquidated
          Phoenix, AZ 85034                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $164,137.00
          Bjerk Builders Inc.                                                   Contingent
          1383 N. Tech Blvd., No. 101                                           Unliquidated
          Gilbert, AZ 85233                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid construction fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $212,691.49
          BOK Financial                                                         Contingent
          16767 N. Perimeter Dr., No. 200                                       Unliquidated
          Scottsdale, AZ 85260
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PPP Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,970.00
          Brenntag Great Lakes, LLC                                             Contingent
          4420 Harley Davidson Ave.                                             Unliquidated
          Milwaukee, WI 53225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,414.00
          Brentag Pacific Inc.                                                  Contingent
          6750 W. Boston St.                                                    Unliquidated
          Chandler, AZ 85226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $94.00
          C&I Show Hardware & Sec. Systems                                      Contingent
          1209 N. Stadem Drive                                                  Unliquidated
          Scottsdale, AZ 85251                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $199,093.00
          CH Robinson Worldwide Inc.                                            Contingent
          P.O. Box 88656                                                        Unliquidated
          Chicago, IL 60680-1656                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $106,106.00
          Changxing Kingke Import & Export Ltd                                  Contingent
          New Century Industrial Park                                           Unliquidated
          Lijiaxiang Town, Changxing Cnty                                       Disputed
          Huzhou, Zhejiang China
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,570.00
          Cleatche LLC                                                          Contingent
          2106 N. Glassell St.                                                  Unliquidated
          Suite 1-2                                                             Disputed
          Orange, CA 92865
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,395.00
          Complete Testing Solutions LLC                                        Contingent
          2775 N. Arizona Avenue                                                Unliquidated
          Chandler, AZ 85225                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,511.00
          Corrugados de Baja Calif Sde RL de CV                                 Contingent
          Bulevar Luis Donaldo Colosio 1850, Encin                              Unliquidated
          Nogales, Mexico                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,447.00
          Daniel's Moving & Storage                                             Contingent
          6131 W. Van Buren St                                                  Unliquidated
          Phoenix, AZ 85043                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $61,743.00
          Daymon Worldwide Inc.                                                 Contingent
          P.O. Box 744820                                                       Unliquidated
          Atlanta, GA 30374-4820                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,500.00
          De Well Container Shipping Inc.                                       Contingent
          5553 Bandini Blvd., Unit A                                            Unliquidated
          Bell Gardens, CA 90201                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,713.00
          DeWolf Chemical Inc.                                                  Contingent
          300 Jefferson Blvd.                                                   Unliquidated
          Ste. 20                                                               Disputed
          Warwick, RI 02888
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,180.00
          Dow Chemical Company                                                  Contingent
          7719 Collection Center Dr.                                            Unliquidated
          Attn Lockbox Services 7719                                            Disputed
          Chicago, IL 60693-0077
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,605.00
          Duncor LLC dba Summit West signs                                      Contingent
          4049 E. presidio St., Ste 115                                         Unliquidated
          Mesa, AZ 85215                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,142.00
          E-Pak Machinery Inc.                                                  Contingent
          c/o Altus Receivables Management                                      Unliquidated
          2400 Veterans Memorial Blvd., No. 300                                 Disputed
          Kenner, LA 70062
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number       9045                         Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $1,656,495.00
          Eastern Shipping Worldwide                                            Contingent
          185 Hansen Court                                                      Unliquidated
          Wood Dale, IL 60191
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt and potential recovery in lawsuit filed in
          Last 4 digits of account number                                    California
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,840.00
          Electrica Reliability Svs dba eti Confom                              Contingent
          610 Executive Campus Drive                                            Unliquidated
          Columbus, OH 43085                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,373.00
          Elwood Staffing Service Inc.                                          Contingent
          4111 Central Avenue                                                   Unliquidated
          Columbus, IN 47203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,107.00
          Energy Transport Logistics                                            Contingent
          1411 S. 47th Avenue                                                   Unliquidated
          Phoenix, AZ 85043                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,334.00
          Ernest Packaging Solutions                                            Contingent
          855 N. 107th Ave., Ste C-100                                          Unliquidated
          Avondale, AZ 85323                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,684.00
          Express Services dba Express Employment                               Contingent
          9701 Boardwalk Blvd.                                                  Unliquidated
          Oklahoma City, OK 73162                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $1,515,848.00
          Fibertex Nonwovens Inc.                                               Contingent
          100 Iso Pkwy                                                          Unliquidated
          Gray Court, SC 29645                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,255.00
          Food Safety Net Services AZ                                           Contingent
          6215 W. Van Buren                                                     Unliquidated
          Phoenix, AZ 85043                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Food Safety Net Services, Ltd.                                        Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Trade debt and potential liability in lawsuit filed in
                                                                             Texas
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $132,196.00
          Fort Dearborn Co.                                                     Contingent
          P.O. Box 74008096                                                     Unliquidated
          Chicago, IL 60674-8096                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,919.00
          Friedman Recycling Co.                                                Contingent
          3640 W. Lincoln St.                                                   Unliquidated
          Phoenix, AZ 85009                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $270,000.00
          GG Capital LLC                                                        Contingent
          c/o Jack Gantz Irrevocable Trust No. 2                                Unliquidated
          463 Woodlands Road                                                    Disputed
          Harrison, NY 10528
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred 2021
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $66,389.00
          Goodfibers, LLC                                                       Contingent
          4949 W. Buckeye Road                                                  Unliquidated
          Phoenix, AZ 85043
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt and potential liability in lawsuit filed in
          Last 4 digits of account number                                    Arizona
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,216.00
          Great Lakes Packaging Corpo.                                          Contingent
          W190 N11393 Carnegie Drive                                            Unliquidated
          Germantown, WI 53022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          Green Blue Institute                                                  Contingent
          600 E. Water St., Ste C                                               Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $304.00
          Greenfield Dynamics                                                   Contingent
          2152 E. Cedar St.                                                     Unliquidated
          Tempe, AZ 85281                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $173,619.00
          Hangzhou Bonyee Daily Necessity Tech Co                               Contingent
          No. 16 Hongda Rd., Yuhang Economic Devel                              Unliquidated
          Province 311102 Hangzhou City                                         Disputed
          Zhjiang China
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,868.00
          Hansen Storage co.                                                    Contingent
          2880 N. 112th St                                                      Unliquidated
          Milwaukee, WI 53222                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53,999.00
          Harder Corp.                                                          Contingent
          7029 Raywood Road, Ste. 8-202                                         Unliquidated
          Madison, WI 53713
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt and potential recovery under lawsuit filed
          Last 4 digits of account number                                    in Arizona
                                                                             Is the claim subject to offset?     No       Yes




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 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,638.00
          Independent Chemical Corporation                                      Contingent
          71-19 80 Street                                                       Unliquidated
          Ridgewood, NY 11385-7592                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44,797.00
          Industrial Blending and Packaging Co.                                 Contingent
          24881 S. Rittenouse Road                                              Unliquidated
          Queen Creek, AZ 85142                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,175.00
          Industrial Control Concepts Inc.                                      Contingent
          301 N. Memorial Drive                                                 Unliquidated
          Saint Louis, MO 63102                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,317.00
          Ingersoll Rand Industrial US Inc.                                     Contingent
          800 Beaty Street                                                      Unliquidated
          Suite 201                                                             Disputed
          Davidson, NC 28036
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,028.00
          Innovative Chemical Technologies                                      Contingent
          680 Douthit Ferry Rd.                                                 Unliquidated
          Cartersville, GA 30120                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,600.00
          Intarome Fragrance & Flavor Corp                                      Contingent
          370 Chestnut St.                                                      Unliquidated
          Norwood, NJ 07648                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,696.00
          Inter Ag Service Inc.                                                 Contingent
          2515 E. University Dr.                                                Unliquidated
          Phoenix, AZ 85034                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $97,594.00
          Interstate Packaging Group Inc.                                       Contingent
          8828 S. Hardy Dr., Ste. 105                                           Unliquidated
          Tempe, AZ 85284                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,518.00
          Isuzu Finance of America                                              Contingent
          1265 Sand Hill road                                                   Unliquidated
          Candler, NC 28715                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Deficiency claim on returned vehicle
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $69,895.00
          Jacob Holm Industries Inc.                                            Contingent
          1265 Sand Hill Road                                                   Unliquidated
          Ste. 400                                                              Disputed
          Candler, NC 28715
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,050.00
          Jerome B. Smith                                                       Contingent
          300 Corporate Pointe                                                  Unliquidated
          Culver City, CA 90230                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,629.17
          Joseph Gantz                                                          Contingent
          463 Woodlands Road                                                    Unliquidated
          Harrison, NY 10528                                                    Disputed
          Date(s) debt was incurred Jan. 2022
                                                                                             Reimbursement of amounts due on Letter of Credit
                                                                             Basis for the claim:
          Last 4 digits of account number 4399                               securing obligations to NFS Leasing, Inc.
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,406.00
          Kimberly-Clark Corp.                                                  Contingent
          P.O. box 601004                                                       Unliquidated
          Pasadena, CA 91189-1004                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $195,884.00
          Kleen Test Products Corp.                                             Contingent
          1611 Sunset Road, No. 209                                             Unliquidated
          Port Washington, WI 53074                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,791.00
          Kredit Automation & Controls Inc.                                     Contingent
          8711 E. Pinnacle Peak Rd.                                             Unliquidated
          Scottsdale, AZ 85255                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,142.00
          McMaster-Carr Supply Co.                                              Contingent
          600 N. County Line Road                                               Unliquidated
          Elmhurst, IL 60126                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,282.00
          Mettler-Toledo International                                          Contingent
          1900 Polaris Pkwy                                                     Unliquidated
          Columbus, OH 43240                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44,560.00
          Morgan Lewis & Bockius LLP                                            Contingent
          1701 Market St.                                                       Unliquidated
          Philadelphia, PA 19103-2921                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,469.00
          National Cabling Technologies LLC                                     Contingent
          1345 N. Hobson Street                                                 Unliquidated
          Gilbert, AZ 85233                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $626.00
          Nelson Jameson Inc.                                                   Contingent
          2400 E. 5th Street                                                    Unliquidated
          Marshfield, WI 54449                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,328.00
          Norman Fox Inc.                                                       Contingent
          14970 Don Julian Road                                                 Unliquidated
          La Puente, CA 91746                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,932.00
          Oscar Pallets Inc.                                                    Contingent
          1749 S. 22nd Ave.                                                     Unliquidated
          Phoenix, AZ 85009                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,759.00
          P.O. USA LLC                                                          Contingent
          89 Partnership Way                                                    Unliquidated
          Cincinnati, OH 45241                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $219.00
          Pacific Coast Propane                                                 Contingent
          3720 W. Lower Buckeye                                                 Unliquidated
          Phoenix, AZ 85009                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $174.00
          Pitney Bowes                                                          Contingent
          3001 Summer St.                                                       Unliquidated
          Stamford, CT 06926                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Postage
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,470.00
          Pixel Effects LLC                                                     Contingent
          22424 S. Ellsworth Loop Road                                          Unliquidated
          #778                                                                  Disputed
          Queen Creek, AZ 85142
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,614.00
          Prisma Graphic Corp.                                                  Contingent
          2937 E. Broadway Rd.                                                  Unliquidated
          Phoenix, AZ 85040                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,488.00
          ProBox Portable Storage                                               Contingent
          4150 E. Magnolia Street                                               Unliquidated
          Phoenix, AZ 85034                                                     Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim:    Fees due under storage rental contracts
          Last 4 digits of account number       Various
                                                                             Is the claim subject to offset?     No       Yes




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 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,179.00
          Purtec Industrial Water-J. Harris                                     Contingent
          3151 Sturgis Road                                                     Unliquidated
          Oxnard, CA 93030                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,306.00
          Quicksilver Express Courier of AZ                                     Contingent
          4625 W. McDowell Rd., #160                                            Unliquidated
          Phoenix, AZ 85035                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,642.00
          Rebel Converting                                                      Contingent
          700 N. Progress Drive                                                 Unliquidated
          Saukville, WI 53080                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,771.00
          Redtail Solutions                                                     Contingent
          P.O. Box 851398                                                       Unliquidated
          Minneapolis, MN 55485-1398                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $935,165.00
          Scandia Plastics , LLC                                                Contingent
          220 Laurel Road, No. 201                                              Unliquidated
          Attn CFO
                                                                                Disputed
          Voorhees, NJ 08043
          Date(s) debt was incurred 11/19/2020
                                                                                              Trade debt and potential recovery in lawsuit brought
                                                                             Basis for the claim:
                                                                             in State of Delaware
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,107.00
          Schneider National Inc.                                               Contingent
          P.O. Box 2545                                                         Unliquidated
          Green Bay, WI 54306-2545                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $430,113.00
          Schoeneck Containers Inc.                                             Contingent
          2160 S. 170th St.                                                     Unliquidated
          New Berlin, WI 53151                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,042.00
          SEKO Worldwide-Logistics                                              Contingent
          1100 Arlington Heights Rd.                                            Unliquidated
          Itasca, IL 60143                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $63,861.00
          Snell & Wilmer, LLP                                                   Contingent
          One Arizona Center                                                    Unliquidated
          Phoenix, AZ 85004-2202                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,792.00
          Southwestern Scale Co Inc.                                            Contingent
          P.O. Box 8760                                                         Unliquidated
          Phoenix, AZ 85066                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,551.00
          Sozio Inc.                                                            Contingent
          51 Ethel Road West                                                    Unliquidated
          Piscataway, NJ 08854                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,006.00
          Sparti Design                                                         Contingent
          656 Stewart Avenue                                                    Unliquidated
          North Aurora, IL 60542                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $129.00
          SPS Commerce Inc.                                                     Contingent
          333 S. Seventh St., No. 1000                                          Unliquidated
          Minneapolis, MN 55402                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,715.00
          Spuntech Industries, Inc.                                             Contingent
          555 N. Park Drive                                                     Unliquidated
          Roxboro, NC 27573                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $149,802.00
          Stepan Company                                                        Contingent
          22 W. Frontage Road                                                   Unliquidated
          Winnetka, IL 60093                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,538.00
          Titus Brueckner & Levine PLC                                          Contingent
          8355 Hartford Drive                                                   Unliquidated
          Suite 200                                                             Disputed
          Scottsdale, AZ 85255
                                                                             Basis for the claim:    Professional Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $172,206.00
          Total Quality Logistics LLC                                           Contingent
          4289 Ivy Pointe Blvd.                                                 Unliquidated
          Cincinnati, OH 45245                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $52,034.00
          Trident Security Services, Inc.                                       Contingent
          2085 S. Cottonwood Dr.                                                Unliquidated
          Tempe, AZ 85282                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,060.00
          ULINE                                                                 Contingent
          Attn Accts Receivable                                                 Unliquidated
          P.O. Box 88741                                                        Disputed
          Chicago, IL 60680-1741
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,739.00
          UniFirst Corp.                                                        Contingent
          104 N. 14th Street                                                    Unliquidated
          Phoenix, AZ 85034                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,389.00
          Univar Solutions USA Inc.                                             Contingent
          5200 Blazer Pkwy.                                                     Unliquidated
          Dublin, OH 43017                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.111     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $5,320.00
           Warren Industries Inc. dba Diamondback                               Contingent
           3722 W. Buckeye Road                                                 Unliquidated
           Phoenix, AZ 85009                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.112     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $737,019.00
           Web-Pro Corp.                                                        Contingent
           No. 4 Uim-Kon 3rd Road Yun-An Ste E-261                              Unliquidated
           Kaohsing Taiwan 82841                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.113     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,185.00
           Weiss & Moy, P.C.                                                    Contingent
           4455 E. Camelback Road                                               Unliquidated
           Phoenix, AZ 85018                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.114     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $504,488.00
           West Bent Packaging dba Comar                                        Contingent
           P.O. Box 937                                                         Unliquidated
           West Bend, WI 53095                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.115     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $75,014.00
           Wist Supply & Equipment                                              Contingent
           P. O. box 98413                                                      Unliquidated
           Las Vegas, NV 89193-8413
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt and potential liability in lawsuit brought in
           Last 4 digits of account number                                   Arizona
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       E-Pak Machinery, Inc.
           1535 S. State Road 39                                                                      Line     3.42
           La Porte, IN 46350
                                                                                                             Not listed. Explain

 4.2       Eckert Seamans Cherin & Mellott, LLC
           Attn G. Lipkin or A. Rogin                                                                 Line     3.94
           222 Delaware Ave., 7th Floor
                                                                                                             Not listed. Explain
           Wilmington, DE 19801




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 18 of 19
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 Debtor       GPMI, Co.                                                                           Case number (if known)          2:22-bk-00150-EPB
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.3       Energy Transport Logistics
           P.O. Box 887                                                                          Line     3.46
           Tolleson, AZ 85353
                                                                                                        Not listed. Explain

 4.4       Internal Revenue Service
           4041 N. Central Avenue                                                                Line     2.2
           MS 5119 PHX
                                                                                                        Not listed. Explain
           Phoenix, AZ 85012-3330

 4.5       Scandia Plastics dba Comar
           3217 Paine Ave.                                                                       Line     3.94
           Sheboygan, WI 53081
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                     58,206.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  9,699,437.06

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    9,757,643.06




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 19 of 19
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 Fill in this information to identify the case:

 Debtor name         GPMI, Co.

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:22-bk-00150-EPB
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Contract Manufacturing
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Albaad USA, Inc.
             List the contract number of any                                         128 Technology Drive South
                   government contract                                               Reidsville, NC 27323-1825


 2.2.        State what the contract or                   Sales Representation
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                9 months with auto
                                                          renewal                    Bill Murray & Associates
             List the contract number of any                                         2036 Shady Crest Drive
                   government contract                                               Birmingham, AL 35216


 2.3.        State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        February 2, 2021

                  State the term remaining                1 month                    Charles (Chuck) Tornabene
                                                                                     190 S. McQueen Road
             List the contract number of any                                         Suite 102
                   government contract                                               Gilbert, AZ 85233


 2.4.        State what the contract or                   Sales Representation
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                1 month with auto
                                                          renewals                   D. Landstrom Associates
             List the contract number of any                                         5555 W. 78th St., Ste. A
                   government contract                                               Minneapolis, MN 55439




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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 Debtor 1 GPMI, Co.                                                                             Case number (if known)   2:22-bk-00150-EPB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   Supplier Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                4 months with auto
                                                          renewal                       Daymon Worldwide Inc.
             List the contract number of any                                            333 Ludlow St., 5th Floor
                   government contract                                                  Stamford, CT 06902


 2.6.        State what the contract or                   Sales Representation
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                        Farley Inc.
             List the contract number of any                                            438 1st Street
                   government contract                                                  Lake Oswego, OR 97034


 2.7.        State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Indefinite                    Gregory Jewell
                                                                                        190 S. McQueen Road
             List the contract number of any                                            Suite 102
                   government contract                                                  Gilbert, AZ 85233


 2.8.        State what the contract or                   Master Lease
             lease is for and the nature of               Agreement No.
             the debtor's interest                        400-0003582 (forklifts)

                  State the term remaining                45 months with auto
                                                          renewal if not                HYG Financial Services Inc.
                                                          terminated                    5000 Riverside Drive
             List the contract number of any                                            Suite 300 East
                   government contract                                                  Irving, TX 75039


 2.9.        State what the contract or                   Sales Representation
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                2 months with auto
                                                          renewal                       Marc Alan & Assoc.
             List the contract number of any                                            1224 N. Hobson Street
                   government contract                                                  Gilbert, AZ 85233


 2.10.       State what the contract or                   Master Equipment
             lease is for and the nature of               Lease Number
             the debtor's interest                        2020-0244                     NFS Leasing, Inc.
                                                                                        900 Cummings Center
                  State the term remaining                Varies under Schedules        Suite 226-U
                                                          1-7                           Beverly, MA 01915
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 2 of 4
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 Debtor 1 GPMI, Co.                                                                            Case number (if known)   2:22-bk-00150-EPB
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   Sales Representation
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                3 months with auto
                                                          renewal                      Pro Reps Sales
             List the contract number of any                                           1107 Heatherstone Drive
                   government contract                                                 Fredericksburg, VA 22407


 2.12.       State what the contract or                   Portable Storage Rental
             lease is for and the nature of               Contracts
             the debtor's interest                        (14 contracts for 15
                                                          units)
                  State the term remaining                Ongoing, renews
                                                          monthly                      ProBox Portable Storage
             List the contract number of any                                           3848 S. 36th Street
                   government contract                                                 Phoenix, AZ 85040


 2.13.       State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Sanjay Wahal
                                                                                       190 S. McQueen Road
             List the contract number of any                                           Suite 102
                   government contract                                                 Gilbert, AZ 85233


 2.14.       State what the contract or                   Real Estate Lease
             lease is for and the nature of               dated September 1,
             the debtor's interest                        2020
                                                          Premises located at
                                                          Suite 102, Building 1,
                                                          190 S. McQueen Road,
                                                          Gilbert, AZ
                  State the term remaining                9 years                      ULF Gilbert Spectrum 1 LLC
                                                                                       c/o GID Industrial Advisors
             List the contract number of any                                           14241 Dallas Pkwy., Ste. 650
                   government contract                                                 Dallas, TX 75254


 2.15.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                           Will supplement re customer contracts
                   government contract


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 4
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         GPMI, Co.

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                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Joseph Gantz                      190 S. McQueen Road                               NFS Leasing, Inc.                  D   2.8
                                               Suite 102                                                                            E/F
                                               Gilbert, AZ 85233
                                                                                                                                    G




    2.2      Yarron Bendor                     190 S. McQueen Road                               IOU Central Inc.                   D   2.6
                                               Suite 102                                                                            E/F
                                               Gilbert, AZ 85233
                                                                                                                                    G




    2.3      Yarron and                        190 S. McQueen Road                               ULF Gilbert Spectrum               D
             Leslie Bendor                     Suite 102                                         1 LLC                              E/F
                                               Gilbert, AZ 85233
                                                                                                                                    G   2.14




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         GPMI, Co.

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

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                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $361,810.00
       From 1/01/2022 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $14,218,331.00
       From 1/01/2021 to 12/31/2021
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $6,801,430.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               SEE ATTACHED SPREADSHEET                                    Total amount                            $0.00              Secured debt
                                                                           on attached                                                Unsecured loan repayments
                                                                           spreadsheet
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    SEE ATTACHED SPREADSHEET                                    Total amount                            $0.00
                                                                           on attached
                                                                           spreadsheet

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property

       Isuzu Finance of America Inc.                             2020 Chevrolet 6500CF with Morgan 26' dry                     12/2021                        Unknown
       2500 Westchester Avenue                                   van body, VIN 54DKFS161Lsg50789
       Purchase, NY 10577


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Food Safety Net Services,                         Civil                      408th District Court, Bexar                    Pending
               Ltd., et al. v. GPMI, Co.                                                    County, TX                                     On appeal
               2021CI17579                                                                  100 Dolorosa
                                                                                                                                           Concluded
                                                                                            3rd Floor
                                                                                            San Antonio, TX 78205


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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 Debtor       GPMI, Co.                                                                                     Case number (if known) 2:22-bk-00150-EPB



               Case title                                        Nature of case               Court or agency's name and          Status of case
               Case number                                                                    address
       7.2.    Goodfibers, LLC v. GPMI, Co.                      Civil                        Maricopa County Superior                 Pending
               CV2021-052024                                                                  Court                                    On appeal
                                                                                              201 W. Jefferson St
                                                                                                                                       Concluded
                                                                                              Phoenix, AZ 85003

       7.3.    Eastern Shipping Worldwide,                       Civil                        U.S. District Court                      Pending
               Inc. v. GMMI, Co., et al.                                                      Central District of CA,                  On appeal
               2:21-cv-8293                                                                   Western Div.
                                                                                                                                       Concluded
                                                                                              350 W. 1st Street
                                                                                              Los Angeles, CA 90012

       7.4.    Harder Corp. v. GPMI, Co.                         Civil                        Maricopa County Superior                 Pending
               CV2021-015794                                                                  Court                                    On appeal
                                                                                              201 W. Jefferson St
                                                                                                                                       Concluded
                                                                                              Phoenix, AZ 85003

       7.5.    Wist Supply & Equipment Co.                       Civil                        Maricopa County Superior                 Pending
               v. GPMI, Co.                                                                   Court                                    On appeal
               CV2021-015660                                                                  201 W. Jefferson St
                                                                                                                                       Concluded
                                                                                              Phoenix, AZ 85003

       7.6.    Scandia Plastics, LLC v.                          Breach of contract           Superior Court of the State              Pending
               GPMI, Co.                                                                      of Delaware                              On appeal
                                                                                              500 North King Street
                                                                                                                                       Concluded
                                                                                              Wilmington, DE 19801


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                Dates of loss             Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy


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    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received                         If not money, describe any property transferred           Dates        Total amount or
                the transfer?                                                                                                                        value
                Address
       11.1.    Engelman Berger, P.C.
                2800 N. Central Avenue
                Suite 1200                                                                                                     7/15/21 -
                Phoenix, AZ 85004                                                                                              Retainer             $5,000.00

                Email or website address
                www.eblawyers.com

                Who made the payment, if not debtor?
                Debtor through Titus Brueckner &
                Levine PLC, counsel on behalf of
                Debtor


       11.2.                                                                                                                   9/8/21 -
                                                                                                                               $4,384.00
                Engelman Berger, P.C.                                                                                          10/15/21 -
                2800 N. Central Avenue                                                                                         $9,420.00
                Suite 1200                                                                                                     11/29/21 -
                Phoenix, AZ 85004                                                                                              15,820.00           $29,624.00

                Email or website address
                www.eblawyers.com

                Who made the payment, if not debtor?
                Debtor through Titus Brueckner &
                Levine PLC, counsel on behalf of
                Debtor


       11.3.    Engelman Berger, P.C.
                2800 N. Central Avenue
                Suite 1200
                Phoenix, AZ 85004                                                                                              12/17/21            $26,535.63

                Email or website address
                www.eblawyers.com

                Who made the payment, if not debtor?




       11.4.    Engelman Berger, P.C.
                2800 N. Central Avenue
                Suite 1200                                                                                                     12/28/21 -
                Phoenix, AZ 85004                                                                                              Retainer            $25,000.00

                Email or website address
                www.eblawyers.com

                Who made the payment, if not debtor?




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                Who was paid or who received                         If not money, describe any property transferred           Dates          Total amount or
                the transfer?                                                                                                                          value
                Address
       11.5.                                                                                                                   1/10/22 -
                                                                                                                               Retainer -
                                                                                                                               from
                                                                                                                               Retainer
                                                                                                                               Engelman
                                                                                                                               Berger
                                                                                                                               applied a
                                                                                                                               total of
                                                                                                                               $33,251.00
                                                                                                                               to
                                                                                                                               prepetition
                                                                                                                               fees and
                                                                                                                               costs,
                                                                                                                               leaving a
                Engelman Berger, P.C.                                                                                          balance of
                2800 N. Central Avenue                                                                                         $66,749.00
                Suite 1200                                                                                                     in its Trust
                Phoenix, AZ 85004                                                                                              Account          $100,000.00

                Email or website address
                www.eblawyers.com

                Who made the payment, if not debtor?




       11.6.                                                                                                                   08/10/21-$1
                                                                                                                               0,000;
                                                                                                                               09/20/21-$1
                                                                                                                               4,332.45;
                                                                                                                               11/01/21-$5
                                                                                                                               3,400.35;
                                                                                                                               12/08/21-$3
                MCA Financial Group, Ltd.                                                                                      9,145.15;
                4909 N. 44th Street                                                                                            12/28/21-$5
                Phoenix, AZ 85018                                                                                              5,587.13         $127,465.08

                Email or website address
                www.mca-financial.com

                Who made the payment, if not debtor?




       11.7.    MCA Financial Group, Ltd.
                4909 N. 44th Street                                                                                            01/07/22
                Phoenix, AZ 85018                                                                                              Retainer         $100,000.00

                Email or website address
                www.mca-financial.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
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           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     1224 N. Hobson Street                                                                                     9/1/2013 - March 2021
                 Gilbert, AZ 85233

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    GPMI 401(k) Plan #242151                                                                   EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes
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 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    BOK Financial                                    XXXX-3516                   Checking                 July 14, 2021                     $259.18
                16767 N. Perimeter Dr., No.                                                  Savings
                200
                                                                                             Money Market
                Scottsdale, AZ 85260
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Energy Transport Logistics                                    Only employees of                    No contents                             No
       1411 S. 47th Avenue                                           Energy Transport                                                             Yes
       Phoenix, AZ 85043                                             Logistics



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
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      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Clifton Larson Allen (CLA)                                                                                                 2015 - present
                    20 East Thomas Road
                    Suite 2300
                    Phoenix, AZ 85012-3111
       26a.2.       Gregory Jewell                                                                                                             2019 to the present
                    190 S. McQueen Road
                    Suite 102
                    Gilbert, AZ 85233
       26a.3.       Yarron Bendor                                                                                                              1989 - present
                    190 S. McQueen Road
                    Suite 102
                    Gilbert, AZ 85233




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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.4.       Tom Werning                                                                                                          Dec. 20, 2021 -
                    190 S. McQueen Road                                                                                                  present
                    Suite 102
                    Gilbert, AZ 85233

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Clifton Larson Allen
                    20 East Thomas Road
                    Suite 2300
                    Phoenix, AZ 85012-3111
       26c.2.       All persons listed in No. 26(a) above



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       BOK Financial
                    16767 N. Perimeter Dr., No. 200
                    Scottsdale, AZ 85260
       26d.2.       Factors Southwest, L.L.C.
                    4530 E. Shea Blvd., Ste. 142
                    Phoenix, AZ 85028

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Billie Jackson                                                                                           Average cost basis
       .                                                                                    Monthly                  $2,071,555

                Name and address of the person who has possession of
                inventory records
                Tom Werning
                190 S. McQueen
                Gilbert, AZ 85233


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



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       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Yarron Bendor                                  190 S. McQueen Road                                 Shareholder/Director/Preside       75% common
                                                      Suite 102                                           nt/CEO                             stockholder
                                                      Gilbert, AZ 85233
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Jack Gantz Irrevocable                         190 S. McQueen Road                                 Shareholder                        24% common
       Trust No. 2                                    Suite 102                                                                              stockholder
                                                      Gilbert, AZ 85233
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Charles Tornabene                              190 S. McQueen Road                                 Shareholder                        1% common
                                                      Suite 102                                                                              stockholder
                                                      Gilbert, AZ 85233
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Mark Hardy                                     190 S. McQueen Road                                 Chief Operating Officer
                                                      Suite 102
                                                      Gilbert, AZ 85233
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Tom Werning                                    190 S. McQueen Road                                 Chief Financial Officer
                                                      Suite 102
                                                      Gilbert, AZ 85233
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Leslie Bendor                                  190 S. McQueen Road                                 Vice President of Sales and
                                                      Suite 102                                           Marketing
                                                      Gilbert, AZ 85233


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Greg Jewell                                    190 S. McQueen                                      Former Vice President of       04/2020 - 12/2021
                                                      Gilbert, AZ 85233                                   Finance and Operations

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Sanjay Wahal                                   190 S. McQueen Road                                 Former Chief                   11/2020 - 12/2021
                                                      Suite 102                                           Technology and
                                                      Gilbert, AZ 85233                                   Development Officer

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates           Reason for
                                                                 property                                                                providing the value


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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 SEE ANSWER TO QU. 4
       .    ABOVE.


               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 10, 2022

 /s/ Yarron Bendor                                                      Yarron Bendor
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President/CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Charles Tornabene                                                   Common Stock 13.33                                          Shareholder



 Jack Gantz Irrevocable Trust No. 2                                  Common Stock 333.33 Common; 75 Class A                      Shareholder
 463 Woodlands Road                                                  and Class A  Preferred
 Harrison, NY 10528                                                  Preferred
                                                                     Stock

 Yarron Bender Trust Dated February 4, 20                            Common Stock 1,986.67 Common; 35 Class A Shareholder
 190 S. McQueen Road                                                 and Class A  Preferred
 Suite 102                                                           Preferred
 Gilbert, AZ 85233                                                   Stock


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President/CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date January 10, 2022                                                       Signature /s/ Yarron Bendor
                                                                                            Yarron Bendor

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                                             Check if this is an
                                                                                                          Amended/Supplemental Mailing List
                                                                                                          (Include only newly added or
                                                                                                          changed creditors.)


                                                           MAILING LIST DECLARATION


            I, the President/CEO of the corporation named as the debtor in this case, do hereby certify, under penalty of perjury, that the

Master Mailing List, consisting of                14     sheet(s), is complete, correct and consistent with the debtor(s)' Schedules.




 Date:       January 10, 2022                                         /s/ Yarron Bendor
                                                                      Yarron Bendor/President/CEO
                                                                      Signer/Title

 Date: January 10, 2022                                               /s/ Steven N. Berger
                                                                      Signature of Attorney
                                                                      Steven N. Berger 009613
                                                                      Engelman Berger, P.C.
                                                                      2800 North Central Avenue
                                                                      Suite 1200
                                                                      Phoenix, AZ 85004
                                                                      602.271.9090 Fax: 602.222.4999




MML_Requirements_8-2018                                                                                                                          MML-3

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